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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

United States of America
                                  Plaintiff,
v.                                                   Case No.: 1:10−cv−06331
                                                     Honorable Ronald A. Guzman
Ronald Mikos
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 17, 2020:


       MINUTE entry before the Honorable Ronald A. Guzman: Status hearing held on
9/17/2020. Petitioner is to file his motion for discovery on or before 11/9/2020.
Government's response is due 12/9/2020 and the reply shall be filed no later than
1/15/2021. The motion for discovery shall include any requests to unseal transcripts.
When the Court rules on Petitioner's motion for discovery, it will, if necessary, set a
schedule for any additional filings by Petitioner. Mailed notice. (kp, )




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